

Winkley v KBM Mgt., Inc. (2022 NY Slip Op 02685)





Winkley v KBM Mgt., Inc.


2022 NY Slip Op 02685


Decided on April 22, 2022


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on April 22, 2022
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: PERADOTTO, J.P., LINDLEY, NEMOYER, AND CURRAN, JJ.


278 CA 21-00247

[*1]DARRIN WINKLEY, AS PRESIDENT OF ROCHESTER AREA SCHOOLS WORKERS' COMPENSATION PLAN, PLAINTIFF-RESPONDENT,
vKBM MANAGEMENT, INC., DEFENDANT-APPELLANT. (APPEAL NO. 1.) 






GOLDBERG SEGALLA LLP, ROCHESTER, RIVKIN RADLER LLP, UNIONDALE (EVAN H. KRINICK OF COUNSEL), FOR DEFENDANT-APPELLANT.
WOODS OVIATT GILMAN LLP, ROCHESTER (ANDREW J. RYAN OF COUNSEL), FOR PLAINTIFF-RESPONDENT. 


	Appeal from an order of the Supreme Court, Monroe County (J. Scott Odorisi, J.), entered January 15, 2021. The order, insofar as appealed from, granted the motion of plaintiff for partial summary judgment and awarded plaintiff money damages. 
It is hereby ORDERED that said appeal is unanimously dismissed without costs (see Matter of Aho , 39 NY2d 241, 248 [1976]).
Entered: April 22, 2022
Ann Dillon Flynn
Clerk of the Court








